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DISTRICT ATTORNEY
COUNTY OF NEW YORK
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(212) 335-9000

 

CYRUS FR. VANCE, JR.

District ATTORNEY

- CAREY R. DUNNE

GENERAL COUNSEL

 

 

 

 

 

 

 

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USDC SDNY !

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Judge Victor Marrero DOC A:

 

U.S. District Court Judge ; DATE FILED:
Southern District of New York —_-

 

 

 

500 Pearl Street, New York, N.Y.

September 26, 2019

Re: Donald J. Trump v. Cyrus R. Vance, Jr.
Case No. 1:19-cv-08694 (VM)

Dear Judge Marrero:

‘We represent the office of Cyrus R. Vance, Jr., District Attorney of New York County
(the “Office”), a defendant in this matter.

Pursuant to the Court’s order of September 25, 2019 (Dkt. # 25), and without
ptejudice to any right asserted by any party, we write to inform the Court that the parties have
reached a temporary arrangement.

The Office agrees to forbear enforcement of Mazars USA LLP’s (“Mazars”)
obligations to produce documents pursuant to the Mazars subpoena at issue in this litigation
until 1:00 p.m. two business days after the Court rules on the pending motions to dismiss and
for injunctive relief, or until 1:00 p.m. on Monday, October 7, 2019, whichever is sooner. In
the interim, the parties agree that Mazars will résume gathering and preparing all documents
responsive to the subpoena. The parties further agree that, subject to a contrary court order,
Mazars will begin a rolling production of such documents immediately upon the expiration of
this agreement, with Mazars’ first production to be made by hand delivery at 4:00 p.m. on the
day this agreement expires.

 
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September 26, 2019
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We are available at the Court’s convenience should any questions atise concerning
this undertaking.

Very truly-yours, a

7 /

Catey R. Dunge, General Counsel
Christopher Conroy

Solomon B. Shinerock

James H. Graham

Allen J. Vickey

Assistant District Attorneys

New York County District Attorney’s Office

Agreed on September 26, 2019:

tt2——

William Consovoy

Marc Mukasey

Alan Futerfas

Counsel of Record for the Plaintiff

rao [ea

Jerry D. Bernstein

Inbal Paz Garrity

Nicholas R. Tambone

Counsel of Record for Defendant Mazars USA, LLP

 

CC: all counsel of record (via email)

 

The Clerk of Court is directed to-enter into the public record
of this,action the letter above submitted to the Court by

Fie. Pie Peas
b

SO ORDERED.

g OZ —/ F Ze

DATE °

 

 

 

 
